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                                     UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF NEW YORK




 PRESIDENT DONALD J. TRUMP, 45th President of the United                   1:23-cv-06883-PGG
 States of America, in his individual capacity,
                                        Plaintiff,
               v.

 SIMON & SCHUSTER, INC., a New York corporation,
 ROBERT WOODWARD p.k.a. BOB WOODWARD, an
 individual, and PARAMOUNT GLOBAL, a Delaware
 corporation, f/k/a Viacom Inc., successor by merger to CBS
 Corporation, a Pennsylvania corporation f/k/a
 Westinghouse Electric Corporation,
                                       Defendants.


                              DECLARATION OF ROBERT GARSON

ROBERT GARSON, pursuant to 28 U.S.C. § 1746, declares as follows:

          1.   I am over the age of 18 years and have personal knowledge of the facts stated

herein.

          2.   I am an aƩorney duly authorized to pracƟce law in the State of Florida as well as

several other jurisdicƟons. SpeciĮcally, I have been engaged in the pracƟce of law since 1999 and

am admiƩed to pracƟce in England & Wales since 1999; New York since 2010; Florida since 2022,

and the District of Columbia since 2022. I am a Barrister AƩorney with full acƟve pracƟcing

cerƟĮcates in all the foregoing jurisdicƟons.

          3.   I am a partner with the law Įrm of Garson, Segal, Steinmetz, Fladgate LLP a/k/a

GS2 Law PLLC (“Firm”).

          4.   On October 24, 2022, our Įrm transmiƩed to the aƩenƟon of Defendants’ counsel


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a leƩer providing NoƟce of Copyright Infringement regarding the Trump Tapes. A true and correct

copy of this leƩer is aƩached hereto as Exhibit A.

       5.       On October 28, 2022, our Įrm received a response from counsel for the

Defendants. A true and correct copy of the response leƩer is aƩached hereto as Exhibit B. The

October 28, 2022, leƩer marked the Įrst Ɵme that this Įrm and the named PlainƟī heard the

Defendants’ asserƟon of the “historical record.”

       6.       On November 17, 2022, our Įrm sent a reply to the Defendants’ counsel, a true

and correct copy of which is aƩached hereto as Exhibit C.

       7.       Review of various websites and wriƩen materials conĮrms that the Defendants

have not always touted The Trump Tapes as having anything to do with the so-called “historical

record.” By way of example, Simon & Schuster’s website link for The Trump Tapes, the unabridged

compact disk version, bears no reference to the “historical record.” Similarly, the unabridged

audio download of this work on the same website also omits any reference to the “historical

record.”         See         hƩps://www.simonandschuster.com/books/The-Trump-Tapes/Bob-

Woodward/9781797124728.

       8.       Notably, even Robert Woodward’s website, bobwoodward.com, contains an image

of The Trump Tapes that omits any reference to any “historical record”:




See hƩps://www.bobwoodward.com/.


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       9.       The term “historical record” does appear on bobwoodward.com as follows:

       In new commentary created exclusively for THE TRUMP TAPES, Woodward at Ɵmes
       breaks frame from the interviews to provide essenƟal context or clariĮcaƟon. But
       for the most part the interviews proceed uninterrupted, fulĮlling Woodward’s goal
       of presenƟng Trump’s voice and words for the historical record, and oīering
       listeners the chance to hear and judge and make their own assessments.

See hƩps://www.bobwoodward.com/.

       10.      AddiƟonally, the following quote from Bob Woodward appears on the Simon &

Schuster website as it pertains to The Trump Tapes, which also omits reference to any “historical

record”:




       The Trump Tapes
       Bob Woodward's Twenty Interviews with President Donald Trump
       By Bob Woodward
       Read by Bob Woodward and Donald J. Trump
       “I’m doing something here that I’ve never done before, presenting the lengthy, raw
       interviews of my work. In the fall of 2019 through August 2020, I interviewed President
       Trump 19 times for my second book on his presidency, Rage. I had also interviewed him
       in 2016 when he was a presidential candidate. I decided to take this unusual step of
       releasing these recordings after relistening in full to all 20 interviews. As I listened to
       them again I was stunned by their relevance to understanding Trump. Hearing Trump
       speak is a completely different experience to reading the transcripts or listening to



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       snatches of interviews on television or the internet.” —Bob Woodward from The Trump
       Tapes

See https://www.simonandschuster.com/p/the-trump-tapes.


       11.     AŌer commencement of this maƩer, the Defendants served our oĸce with

versions of The Trump Tapes. While the item bearing ISBN#978-1-7971-2472-8 (consisƟng of

10CDs) is Ɵtled The Trump Tapes: Bob Woodward’s Twenty Interviews with President Donald

Trump, the item bearing ISBN#978-1-6680-2814-8 (paperback) is Ɵtled The Trump Tapes – The

Historical Record: Bob Woodward’s Twenty Interviews with President Donald Trump. The laƩer is

a trade paperback ediƟon January 2023 and expressly states that “[t]his Ɵtle was previously

published in 2022 in audio format.” As such, it appears that, as of January 2023, around the Ɵme

of the Įling of this lawsuit, the Defendants began to employ the term “historical record.”

       12.     Following the commencement of this lawsuit, our Įrm learned from the U.S.

Copyright Oĸce that Woodward sought to register the copyright to the Audiobook and the

DerivaƟve Works, as deĮned in the Amended Complaint. Indeed, as reŇected on Amazon.com,

the Audible Audiobook version of The Trump Tapes bears the following copyright symbol: ©2022

Bob Woodward Ο2022 Simon & Schuster Audio Originals. See https://www.amazon.com/Trump-

Tapes-Woodwards-Interviews-

President/dp/B0BJHGLLRB/ref=tmm_aud_swatch_0?_encoding=UTF8&qid=&sr=

       13.     Our Įrm has submiƩed, on behalf of President Trump, an applicaƟon for copyright

registraƟon to the Copyright Oĸce reŇecƟng President Trump’s sole authorship of the Interviews,

Audiobook, and the DerivaƟve Works (all as deĮned in the Complaint).

       14.     Following review of our applicaƟon, the Copyright Oĸce explained that



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registraƟon for the PlainƟī’s sole authorship claim for any or all of the Interviews would require

submission of the original version of the Interviews. However, neither President Trump nor our

oĸce is in the possession of the original recordings, which the Defendants possess and have not

shared with the PlainƟīs to date.

       15.     Defendants claim in their Memorandum that the works that are the subject of this

maƩer have been altered, but they have not presented the original raw, master recordings for

reconciliaƟon or juxtaposiƟon.

       16.     President’s Trump lack of access to the original audio recordings was conveyed to

the Copyright Oĸce, which has since expressed its willingness to grant copyright protecƟon to

President Trump as a joint author of the Work.

       17.     President Trump is now pending receipt of the copyright registraƟon cerƟĮcate

reŇecƟng President Trump’s joint owner/author status.

       18.     That copyright registraƟon is pending issuance and shall be Įled with this

Court upon receipt thereof.

       19.     On May 4, 2023, Paramount Global Įled a Form 10-Q, a Quarterly Report Pursuant

To SecƟon 13 or 15(d) of The SecuriƟes Exchange Act of 1934, for the quarterly period ending

March 31, 2023, with the United States SecuriƟes and Exchange Commission via the EDGAR

database. This is also publicly available at hƩps://ir.paramount.com/staƟc-Įles/799fc67c-9733-

4d8a-b27b-3e1da2430134 . A true and correct copy of this Form 10-Q is aƩached hereto as

Exhibit D.

       20.     AddiƟonally, although the PlainƟī has been deprived of access to the original,

master recordings, cross-reference of the Interviews with the informaƟon available via the Press



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Pool reports, publicly available at hƩps://www.presidency.ucsb.edu/people/president/donald-j-

trump, reveals the following regarding the logisƟcs of the Interviews.

       21.     Thursday, March 31, 2016 - this interview took place in the Old Post Oĸce Pavilion
       Trump Hotel.
       22.     Thursday, December 5, 2019 - “The author conducted an hour-and-14-minute
       interview with President Donald Trump in the Oval Oĸce.” There is no Press Pool Report
       for that day.
       23.     Friday, December 13, 2019 - “I interviewed Trump at the White House around
       2.30 p.m. in the afternoon… The president…had Ɵme for a one-and-a-half-hour interview
       in the Oval Oĸce.”
       24.     Monday, December 30, 2019 - “I was siƫng in the recepƟon area of Mar-a-Lago
       waiƟng to interview Trump…”
       25.     Monday, January 20, 2020, MarƟn Luther King Jr. Day around 1:30 PM President
       Trump called Woodward there is no recording but handwriƩen notes. President Trump
       was at the White House according to the Pool Report.
       26.     Wednesday, January 22, 2020, aŌer 9 p.m. President Trump called Woodward “‘I
       just got back’…from Davos, he said. ‘I literally just landed.’” “Marine One touched down
       on the South Lawn at 6:22” according to the Pool Report.
       27.     Friday, February 7, 2020, at 9 p.m. “Trump called me at home.” President Trump
       spoke at the North Carolina Opportunity Now Summit in CharloƩe, NC, but “was wheels
       down at JBA at 4:21 p.m,” according to the Pool Report.
       28.     Wednesday, February 19, 2020, Woodward called President Trump at 1:45 p.m.,
       staƟng that the President “was on Air Force One, Ňying to Arizona for a rally.” “Palm
       Springs > BakersĮeld: Motorcade pulled up to AF1 at 1:36 pm. POTUS had already boarded
       when we climbed out” according to the Pool Report.
       29.     Thursday, March 19, 2020 — “President Trump called me at home the evening of
       …” President Trump was at the White House, except for brief trip to FEMA HQ, 2:32 p.m.
       EDT – 4:09 p.m. EDT according to the Pool Report.
       30.     Saturday, March 28, 2020— “I reached him again by phone on Saturday morning…”
       “Marine 1 departed with POTUS at 12:21 [for Norfolk, Virginia… to see oī the USNS
       Comfort as it leaves New York” according to the Pool Report.
       31.     Sunday, April 5, 2020, aŌernoon — “I reached him by phone late in the
       aŌernoon…” President Trump was at the White House all-day according to the Pool
       Report.
       32.     Monday, April 13, 2020, at 10 p.m. “I reached Trump at the White House…”
       President Trump was at the White House all-day according to the Pool Report.
       33.     Wednesday, May 6, 2020, at around 7 p.m. “I reached Trump by phone…” …”
       President Trump was at the White House all-day according to the Pool Report.
       34.     Friday, May 22, 2020, at 9:18 p.m. “I reached President Trump by phone at the
       White House…”…” President Trump was at the White House all-day according to the Pool
       Report.
       35.     Wednesday, June 3, 2020, morning “Trump returned my call…” President Trump


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         was at the White House all-day according to the Pool Report.
         36.     Friday, June 19, 2020, at 10:30 a.m. “Trump called me unexpectedly…”…”
         President Trump was at the White House all-day according to the Pool Report.
         37.     Monday, June 22, 2020, at 8:15 PM President Trump Returned Woodward’s call.
         Woodward states that the President opens with the call with, “I just got to the White
         House…” President Trump was at the White House all-day according to the Pool Report.
         38.     Wednesday, July 8, 2020, morning “Trump called me unexpectedly before his day
         of meeƟngs…” President Trump was at the White House all-day according to the Pool
         Report.
         39.     Monday, July 21, 2020 “Trump called me unexpectedly the morning of …”
         President Trump was at the White House all-day according to the Pool Report.
         40.     Friday August 14, 2020 “The phone rang … It was Trump.” President Trump
         departed for New York “to visit his brother, Robert, who has been hospitalized” at 2:17
         p.m.


         21.    On July 5, 2023, a supervisor with the Copyright Office contacted Plaintiff’s

counsel again, stating as follows:

         Dear Mr. Garson, thank you for your reply. I’m responding on behalf of Carrie who
         is currently out of the office. It’s not clear whether you are asserting that The
         Trump Tapes is a joint work. If you assert that it is not a joint work, that Mr. Trump
         is the sole author and claimant of his contributions, and that the Simon & Schuster
         publication was unauthorized, please verify this. In this case, as we explained
         previously, you must submit an authorized, bona fide copy of work Mr. Trump
         created. We cannot register on this basis without a bona fide copy.

Thus, the Copyright Office effectively determined Plaintiff’s copyright deposit to be invalid, and

refused registration based on sole authorship, notifying the Plaintiff’s counsel of the same.

         22.    On September 1, 2023, Laura Lee Fischer, Chief of the Performing Arts Division of

the Oĸce of RegistraƟon Policy and PracƟce within the US Copyright Oĸce conĮrmed to the

undersigned counsel via e-mail correspondence that the Copyright Oĸce is ready to proceed with

registering The Trump Tapes as a joint work. Ms. Fischer did not rescind the prior noƟce of

rejecƟon regarding registraƟon of The Trump Tapes based on the sole authorship of President

Trump.



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       I hereby cerƟfy, under the penalty of perjury under the laws of the United States of

America, that the foregoing is true and correct.


                                                       ______________________________
                                                         ____________________
                                                                        _
                                                       Robert Garson
                                                       Executed on this 1st day of
                                                       September, 2023.




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